
652 S.E.2d 652 (2007)
In the Matter of S.T.K. and N.S.K., Minor Children.
appealed by Mother.
No. 397P07.
Supreme Court of North Carolina.
October 11, 2007.
Christy E. Wilhelm, for Mother.
*653 Charles E. Frye, III, Lexington, for Davidson County DSS.
Laura Beck, Attorney Advocate, for Guardian ad Litem.

ORDER
Upon consideration of the petition filed on the 9th day of August 2007 by Respondent (Mother) in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 11th day of October 2007."
